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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

JOHN BRUNO,                                                                             PLAINTIFF
ADC #115628

v.                                  4:20-cv-00904-KGB/JTK

WENDY KELLEY, et al.                                                                DEFENDANTS

                                           JUDGMENT

       Pursuant to the Order filed on this date, it is considered, ordered, and adjudged that plaintiff

John Bruno’s complaint is dismissed without prejudice (Dkt. No. 1). The relief sought is denied.

The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that an in forma pauperis appeal taken from

the Order and Judgment dismissing this action is considered frivolous and not in good faith.

       So adjudged this 21st day of October, 2020.



                                                              _____________________________
                                                              Kristine G. Baker
                                                              United States District Judge
